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                 Exhibit 8
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Kevin Smith

From:                              Rivera, Sylvia <SRivera@mofo.com>
Sent:                              Wednesday, June 14, 2017 4:14 PM
To:                                Melissa Baily; John Cooper; 'Edward Takashima'; Matthew Cate; 'Rachel Walsh (RWalsh@goodwinlaw.com)'; 'Neel Chatterjee
                                   (nchatterjee@goodwinlaw.com)'; 'Shane Brun (SBrun@goodwinlaw.com)'; 'Brett Schuman (BSchuman@goodwinlaw.com)'; QE-
                                   Waymo
Cc:                                UberWaymoMoFoAttorneys; 'BSF_EXTERNAL_UberWaymoLit'
Subject:                           Waymo; follow up on today's call re privilege logs
Attachments:                       2017.06.14 Defts Amended Priv Log Identifying Potential Priv Changes.pdf


Melissa,

I write with a response to the questions you raised on our call today about the privilege logs.

You asked about the process we applied to attachments. I checked with our team and can report that if the metadata for an attachment included a date, then
the log reflects that date. If there was no date in the metadata, then the date listed for the attachment is the date of the cover email in which the attachment
was transmitted.

You also asked about entries on the “Amended Privilege Log Associated with March 31, 2017 Production of Doc Identifying Potential Privilege Change Based on
Judge Corley's Order” that did not contain author information for the email attachments. We looked into it and the missing author information was an
oversight. We have since filled it in and I attach hereto an updated version of that log (see date on bottom left corner of log: 6.14.17).

The native versions of the logs will follow shortly, so that you may run redlines as discussed.

Sylvia

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This message may be confidential and privileged. Use or disclosure by anyone other than an intended addressee is prohibited. If you received this
message in error, please delete it and advise the sender by reply email.




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